                           UNITED STATES DISTRICT COURT
                           MIDDLE DISTRICT OF TENNESSEE
                                NASHVILLE DIVISION

UNITED STATES OF AMERICA                           )
                                                   )
v.                                                 )       NO. 3:12-00013
                                                   )       JUDGE CAMPBELL
MANILA VICHITVONGSA, et al.                        )

                                           ORDER

      Pending before the Court is Defendant Angela Whitson’s Motion to Reschedule Pretrial

Conference (Docket No. 358). The Motion is GRANTED.

      The change of plea hearing and/or pretrial conference currently scheduled for July 15, 2013,

is RESCHEDULED for July 8, 2013, at 1:00 p.m.

      It is so ORDERED.

                                                   ____________________________________
                                                   TODD J. CAMPBELL
                                                   UNITED STATES DISTRICT JUDGE




 Case 3:12-cr-00013      Document 360        Filed 01/25/13      Page 1 of 1 PageID #: 1123
